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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                      )
UNITED STATES OF AMERICA                              )
                                                      )
                 v.                                   )
                                                      )       Crim. No. 21-cr-10018-PBS
GANG CHEN                                             )
                                                      )
                 Defendant.                           )
                                                      )


                               JOINT STATUS MEMORANDUM

       Pursuant to Local Rule of Criminal Procedure 116.5(b), the United States, by and through

its undersigned counsel, and defendant Gang Chen, by and through his undersigned counsel,

respectfully submit this joint memorandum.

       (1)       The status of automatic discovery and any pending discovery requests – The

government has produced or made available to the defendant automatic discovery materials. On

November 22, 2021, the defendant sent a letter to the government seeking additional materials he

believes the government is required to produce under automatic discovery. The government is

currently reviewing whether additional materials need to be produced and intends to respond by

December 6, 2021.

       (2)       The timing of any additional discovery to be produced – Whether any additional

discovery will be produced depends on the results of the government’s review as described in

paragraph (1).

       (3)       The timing of any additional discovery requests –The parties request until the next

status conference to set a date to file any discovery motions.

       (4)       Protective Orders – No protective orders have been entered in this case.
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       (5)     Pretrial motions under Fed. R. Crim. P. 12(b) – The defendant requests an

opportunity to finish reviewing discovery before a date is set for the filing of pre-trial motions

under Federal Rule of Criminal Procedure 12(b).

       (6)     Timing of expert disclosures – Should expert testimony prove necessary, the

government will provide expert discovery no later than 45 days before trial. Defendant will

provide reciprocal expert discovery no later than 30 days before trial.

       (7)     Defenses of Insanity, Public Authority, or Alibi – The defendant will file notice in

accordance with the schedule for pretrial motions, as required by Fed. R. Crim. P. 12.2-12.3.

       (8)     Speedy Trial Act calculations – The defendant was arraigned on January 22,

2021. The Court has ordered the period from January 22, 2021 until December 1, 2021 (the date

of the next interim status conference) excluded from the Speedy Trial clock. This time was

excluded on grounds that the ends of justice outweigh the defendant’s and public’s interest in a

speedy trial under 18 U.S.C. § 3161(h)(7)(A).

       (9)     Status of Plea Discussions and Trial – A trial is likely in this case. Neither party

is currently able to estimate the length of their case.

       (10)    Timing of a Further Interim Status Conference. The parties respectfully request

that the December 1, 2021 interim status be continued for approximately 45 days so that the

defendant can complete his review of discovery and determine whether to make requests for

additional discovery. The parties further request that the time between December 1, 2021 and

the date of the next status conference be excluded from the time within which a trial must

commence under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A).




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      Respectfully submitted,

      Nathaniel Mendell,                              Gang Chen,
      Acting United States Attorney                   Defendant

By:   /s/ Timothy H. Kistner                    By:   /s/ Robert A. Fisher
      B. Stephanie Siegmann                           Robert A. Fisher
      Jason A. Casey                                  Brian Kelley
      Timothy H. Kistner                              Scott Seitz
      Assistant U.S. Attorneys                        Brianna Nassif
                                                      Counsel for Gang Chen
      David C. Aaron
      Trial Attorney
      U.S. Department of Justice
      National Security Division
      Counterintelligence & Export Control Section


Date: November 24, 2021




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